     Case: 1:07-cv-03895-AA Doc #: 6 Filed: 04/29/08 1 of 9. PageID #: 58



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


WILLIAM GAUNTNER, et al.,                          )
                                                   )         Case No. 1:07-CV-3895
         Plaintiffs,                               )
                                                   )         JUDGE ANN ALDRICH
         v.                                        )         Magistrate Judge
                                                   )             Nancy Vecchiarelli
DUANE L. DOYLE,                                    )
                                                   )
         Defendant.                                )         MEMORANDUM AND ORDER
                                                   )
                                                   )

         Before the court is defendant Duane L. Doyle’s (“Doyle”) motion to dismiss this case

pursuant to Rule 12(b)(6). (Doc. No. 4.) Because both parties have presented matters outside the

pleadings for the court’s consideration, and because the parties’ briefing indicates that they are each

aware of the possibility of conversion to summary judgment in such instances, the court treats the

instant motion as one for summary judgment. For the reasons set forth below, the court grants

summary judgment in Doyle’s favor and dismisses the claims with prejudice.


I.       Background

         Doyle is an attorney who was retained by Bonafide Builders, Inc. (“Bonafide”), a home

repair contractor, to collect on a debt allegedly owed by plaintiffs William and Susan Gauntner (the

“Gauntners”).

         On December 5, 2007, Doyle served the Gauntners with a letter demanding that the

Gauntners pay Bonafide $26,692.22 within eight days. The letter further indicated that if a lawsuit

became necessary, Doyle would sue the Gauntners for punitive damages, legal fees, and costs. In
  Case: 1:07-cv-03895-AA Doc #: 6 Filed: 04/29/08 2 of 9. PageID #: 59



addition, the last paragraph of the letter stated, in capital letters: “This is an attempt to collect a

legitimate debt. Any information received from you will be used to further our collection efforts.”

          On December 27, 2007, the Gauntners filed the instant action in federal court. Their one-

count federal complaint asserts that Doyle is a debt collector under the Fair Debt Collection

Practices Act, 15 U.S.C. §§ 1692-1692p (“FDCPA”), and that he violated the act (1) by using false,

deceptive, and misleading representation and means to collect the Gauntners debt, (2) by failing to

provide the Gauntners with a validation rights notice, (3) by misleading the Gauntners in threatening

to sue unless payment was made within eight days, and (4) by trying to collect an amount greater

than that authorized by the agreement.1

          Doyle filed a state court complaint against the Gauntners on January 14, 2008 and was

served with this lawsuit two days later. On January 30, 2008, Doyle filed the instant motion to

dismiss pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure on the basis that (1) he

is not subject to the FDCPA, and (2) even if that act applies, he has not violated it.


II.       Conversion to Summary Judgment

          In considering a motion pursuant to Rule 12(b)(6), if “matters outside the pleadings are

presented to and not excluded by the court, the motion must be treated as one for summary judgment

under Rule 56.” Fed. R. Civ. P. 12(d). It is therefore within the district court’s discretion to



             1
              As part of their FDCPA claim, the Gauntners also assert that Doyle violated Rule 7.1 of
      the American Bar Association’s Model Rules of Professional Conduct which prohibits a lawyer
      from making false or misleading communications about his or her services. Because the
      Gauntners assert this as part of their FDCPA claim and not as a separate count, and because they
      do not seek any particular relief for this alleged violation, the court does not construe it as a
      separate count. Further, to the extent that a violation of professional conduct could form a
      separate count in this case, the Ohio Rules of Professional Conduct would govern, not the
      American Bar Association Model Rules.

                                                   -2-
  Case: 1:07-cv-03895-AA Doc #: 6 Filed: 04/29/08 3 of 9. PageID #: 60



consider such matters, although doing so converts the motion into one for summary judgment.

Barrett v. Harrington, 130 F.3d 246, 253 (6th Cir. 1997).

       When converting a Rule 12(b)(6) motion INto a motion for summary judgment, the facts and

circumstances of each case will determine whether a district court must provide actual notice of

conversion to the parties. Shelby County Health Care Corp. v. Southern Council of Indus. Workers

Health & Welfare Trust Fund, 203 F.3d 926, 931 (6th Cir. 2003). Thus where one party is likely

to be surprised by the conversion, notice is required. Salehpour v. University of Tennessee, 159

F.3d 199, 204 (6th Cir. 1998). Further, in making such a determination, a court may also consider

whether the party who did not submit matters outside the pleadings had ample time to respond to

such matters. See Id.

       The facts and circumstances of the instant case indicate that actual notice is not required.

As a preliminary matter, the court notes that the Gauntners attached three exhibits to their complaint:

a copy of Doyle’s letter and two printouts from Doyle’s website. Doyle’s motion to dismiss also

contains matters outside of the pleadings: two affidavits, two letters, and a copy of the state court

complaint. Finally, the Gauntners’ memorandum in opposition to Doyle’s motion to dismiss again

includes Doyle’s letter and the two website printouts as exhibits. Thus both parties have presented

the court with matters outside the pleadings. Further, because the Gauntners filed their opposition

two weeks early, and Doyle chose not to file a reply memorandum, each party has been afforded

ample time to respond to such matters.

       The record also shows that neither party is likely to be surprised by the conversion.

Specifically, in Doyle’s brief, he explicitly noted that he had supplemented his motion with exhibits.

Similarly, in the Gauntner’s opposition brief, they cited, and in fact underlined, law requiring the



                                                 -3-
  Case: 1:07-cv-03895-AA Doc #: 6 Filed: 04/29/08 4 of 9. PageID #: 61



court to convert a motion to dismiss to one for summary judgment if matters outside the pleadings

are considered. Accordingly, the Gauntners were well aware of this possibility, and perhaps relied

on it when they submitted matters outside of the pleadings for the court’s consideration. Further,

when the Gauntners underlined the possibility of conversion in their opposition, Doyle had notice

of this possibility. Nonetheless, he chose not to file a reply memorandum. In light of these facts,

the court is convinced that both parties are on notice of the potential for conversion, making actual

notice of conversion unnecessary at this juncture. Accordingly, the court will treat Doyle’s motion

to dismiss as a motion for summary judgment pursuant to Rule 56(c).


III.   Standard of Review

       Summary judgment is appropriate “if the pleadings, the discovery and disclosure materials

on file, and any affidavits show that there is no genuine issue as to any material fact and that the

movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c).     However, if the facts of

the case are undisputed, then one of the parties is clearly entitled to summary judgment. Atlantic

Richfield Co. v. Monarch Leasing Co., 84 F.3d 204, 206 (6th Cir. 1996).


IV.     Discussion

       In their complaint, the Gauntners assert that under the FDCPA, Doyle is a debt collector, that

their alleged debt qualifies as a consumer debt, and that they are consumers. Accordingly, they

assert that Doyle is subject to the provisions of that act. Doyle moves to dismiss their complaint on

the basis that (1) he is not subject to the FDCPA, and (2) even if that act applies, he has not violated

it. As set forth below, however, Doyle is not subject to the FDCPA. Therefore, the court need not

reach Doyle’s second argument.



                                                  -4-
  Case: 1:07-cv-03895-AA Doc #: 6 Filed: 04/29/08 5 of 9. PageID #: 62



       A.      Legal framework

       Subject to certain exceptions, none of which Doyle invokes here, under the FDCPA, “debt

collector” means

       any person who uses any instrumentality of interstate commerce or the mails in any
       business the principal purpose of which is the collection of any debts, or who
       regularly collects or attempts to collect, directly or indirectly, debts owed or due or
       asserted to be owed or due another.

15 U.S.C. § 1692a(6). The Supreme Court has construed this provision to include “attorneys who

‘regularly’ engage in consumer-debt-collection activity, even when that activity consists of

litigation.” Heintz v. Jenkins, 514 U.S. 291, 298 (1995). The Sixth Circuit has interpreted

“regularly” as follows:

       for a court to find that an attorney or law firm “regularly” collects debts for purposes
       of the FDCPA, a plaintiff must show that the attorney or law firm collects debts as
       a matter of course for its clients or for some clients, or collects debts as a substantial,
       but not principal, part of his or its general law practice.

Schroyer v. Frankel, 197 F.3d 1170, 1176 (6th Cir. 1999).

       In Schroyer, the Sixth Circuit affirmed the district court’s conclusion that an attorney and

his law firm did not “‘regularly’ collect debts so as to constitute ‘debt collectors’ under the FDCPA”

where only 2% of the firm’s overall practice consisted of debt collection cases, the firm did not

employ any individuals full-time to collect debts, and only 7.4% of the individual attorney’s practice

consisted of debt collection cases. Id. The Sixth Circuit further noted that in the majority of the

attorney’s debt collection cases, he represented debtors and thus was not competing with lay debt

collectors. Id. Further, the attorney represented a number of business clients who were the source

of a number of his debt collection cases. Id. In light of these facts, the Sixth Circuit affirmed the

district court’s determination that the attorney and his law firm were not debt collectors where



                                                  -5-
  Case: 1:07-cv-03895-AA Doc #: 6 Filed: 04/29/08 6 of 9. PageID #: 63



plaintiffs failed to offer evidence showing that the revenues received from debt collection activities

constituted a great portion of the overall revenues, and failed to show that the law firm or the

attorney “handled debt collection cases as part of an ongoing relationship with a major creditor or

business client with substantial debts for collection.” Id.

        One district court in this circuit has expanded upon the Schroyer factors by considering

whether an attorney had advertised collections services on his website. Derenick v. Cohn, No. 1:04-

cv-11, 2004 U.S. Dist. LEXIS 25548, at *10-11 (E.D. Tenn. Aug. 10, 2004). In Derenick, the

attorney attested that debt collection was a small part of his practice, but did not quantify to what

extent. Id. at *9. However, the plaintiff offered evidence that the attorney had filed 277 collection

actions in one court alone, that the attorney’s website contained a detailed explanation of collection

services, and that the website stated that the attorney had over 25 years of experience in creditor’s

rights. Id. at *9-11. Although the attorney disputed whether the 277 actions were actually collection

actions, he did not dispute the website evidence, and the district court found that there was a genuine

issue of material fact as to whether the attorney was a debt collector within the meaning of the

FDCPA. Id. at *9-11.

        B.      Whether Doyle is a “debt collector”

        In the instant litigation, the parties do not dispute the underlying facts. Applying the Sixth

Circuit’s guidance from Schroyer, and the considerations from Derenick, this court finds no genuine

issue of material fact and grants summary judgment in Doyle’s favor.

        In the complaint, the Gauntners allege facts supporting the allegation that Doyle is a debt

collector. Specifically, they note that Doyle’s letter “paid careful attention to identify said letter as

an attempt to collect debt,” noting in particular the letter’s compliance with the statutory



                                                  -6-
  Case: 1:07-cv-03895-AA Doc #: 6 Filed: 04/29/08 7 of 9. PageID #: 64



requirements of 15 U.S.C. § 1692e(11). That provision makes it a violation for a debt collector to

“fail[] to disclose in the initial written communication with the consumer . . . that the debt collector

is attempting to collect a debt and that any information obtained will be used for that purpose.” 15

U.S.C. § 1692e(11). Doyle’s demand letter contained similar language: “This is an attempt to

collect a legitimate debt. Any information received from you will be used to further our collection

efforts.” In light of this similarity, the Gauntners point to Doyle’s adoption of the statutory language

as evidence that he is a debt collector under the FDCPA. Doyle does not dispute that he used this

language.

        The Gauntners further allege that Doyle is a debt collector under the FDCPA because his

website lists “collections” as one of several services offered. They therefore assert that because

Doyle asserts such services, he is a debt collector under the act, regardless of the number of

collection cases he actually retains. Doyle does not dispute that he advertises such services on his

website, although he remarks that the website has not actually brought him any business in that area.

        As noted, Doyle does not dispute the Gauntners’ factual allegations. Instead, he offers his

own evidence to show that he does not, and never has, “regularly” engaged in collection activities.

In support of this statement, he refers to the Schroyer factors. Specifically, he points to his affidavit

in which he attests that he does not regularly represent collection cases and has never represented

a collection agency. He further attests that the few collection cases that he has handled are for small

business clients on a casual basis. In addition, he refers to an affidavit prepared by his legal

secretary, his sole employee. In her affidavit, she attests to statistics that she has compiled

indicating that over the past four years, Doyle has pursued 4-9 debt collection matters per year,

constituting an average of 6.8% of his overall practice during that time period. Further, she notes



                                                  -7-
  Case: 1:07-cv-03895-AA Doc #: 6 Filed: 04/29/08 8 of 9. PageID #: 65



that one client is responsible for 4-5 collection matters per year, although the majority of the

representation of that client is for civil matters not related to collections. The Gauntners do not

dispute any of these facts.

        Applying Schroyer, this court finds that there is no genuine issue of material fact that Doyle

is a debt collector under the FDCPA. Like the attorney in Schroyer, Doyle does not employ any

full-time individuals to collect debts. Similarly, only 6.8% of his practice consists of debt collection

cases, whereas in Schroyer, the percentage was 7.4%. Further, a number of Doyle’s collection

efforts are attributable to a particular business client, similar to the situation in Schroyer. These facts

make it clear that as a matter of law, Doyle’s limited amount of practice in debt collection activities

does not subject him to the FDCPA. The fact that Doyle sent a demand letter that at least partially

complied with the FDCPA does not change this legal determination.

        Nor does the fact that Doyle lists “collections” as one of seven services on his website

change the outcome. Doyle’s website merely states that he will pursue collections based on one

third of the recovery and that he reserves the right to not litigate a collection all the way to judgment.

He provides absolutely no information regarding the nature of his services. Nor does he indicate

what experience he has, if any, pursuing collections. Thus, the information posted on Doyle’s

website establishes that he will accept collection work; unlike the attorney in Derenick, Doyle’s

website cannot be relied on to show that he is in the business of “regularly” engaging in collection

activities.

        Accordingly, based upon the undisputed underlying facts, there is no genuine issue of

material fact regarding whether Doyle is a debt collector under the FDCPA. Therefore, the court

grants summary judgment in his favor.



                                                   -8-
  Case: 1:07-cv-03895-AA Doc #: 6 Filed: 04/29/08 9 of 9. PageID #: 66




V.     Conclusion

       For the reasons set forth above, Doyle’s motion to dismiss, as converted to a motion for

summary judgment, is granted. (Doc. No. 4.) Accordingly, the Gauntners’ claim is dismissed with

prejudice. This order is final and appealable.

       IT IS SO ORDERED.

                                                         /s/ Ann Aldrich
                                                              ANN ALDRICH
                                                       UNITED STATES DISTRICT JUDGE
Dated: April 29, 2008




                                                 -9-
